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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                                 WACO DIVISION

NCS MULTISTAGE INC.,

             Plaintiff,
                                          CIVIL ACTION NO. 6:20-CV-00277-ADA
       v.
                                                JURY TRIAL DEMANDED
NINE ENERGY SERVICE, INC.,

             Defendant.


              DEFENDANT NINE ENERGY SERVICE, INC.’S OPPOSED
                      MOTION TO TRANSFER VENUE




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I.     PRELIMINARY STATEMENT.

       This dispute between Houstonians should be litigated in Houston. For the convenience of

the parties and witnesses, Nine Energy Service, Inc. (“Nine”) respectfully requests that the Court

transfer this case to the Houston Division of the Southern District of Texas (“SDTX”) pursuant to

28 U.S.C. § 1404(a). Both Plaintiff NCS Multistage, Inc. (“NCS”) and Nine are headquartered a

few miles from one another in Houston. All sales in Texas of the accused product are led by a

sales manager based in Houston; a substantial portion of those devices are manufactured in

Houston; and the vast majority of relevant information is available in Houston. Given the location

of the parties’ headquarters, Nine expects that nearly all party witnesses either live in Houston or

regularly travel there. Accordingly, litigating this dispute in Houston would be significantly more

convenient for the parties and witnesses than keeping the case in Waco.

       In contrast, the only connection this case has to the Western District of Texas (“WDTX”)

is the location of field offices near Midland. But no substantial quantity of evidence is located

there that is not equally available from the corporate offices in Houston. Further, even those field

offices are not located within the Waco division, and thus provide no localized interest in favor of

keeping the case in Waco. Plaintiff appears to have filed this case in WDTX given this division’s

experience and procedures for patent cases. However, in doing so, it has overlooked a far more

convenient forum for both parties. For these reasons, Nine respectfully submits that Houston is a

substantially more convenient form, and respectfully requests that the Court transfer this dispute

between Houstonians to Houston.

II.    SUMMARY OF KEY FACTS

       This is a patent dispute between two Houston-based companies over Nine’s BreakThru™

Casing Flotation Device (the “BreakThru™ Device”). Nine’s worldwide headquarters is located

in Houston. Ex. A, at ¶ 7. Relevant witnesses and evidence related to the BreakThru™ Device

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are located in Houston, SDTX, or abroad. Id. at ¶¶ 10, 15-16, 20-21. Even Nine’s employees

outside of Houston regularly travel to the Nine offices in Houston. Id. at ¶¶ 21-22.

       A substantial portion of the BreakThru™ Devices assembled for the Texas market are

manufactured by non-party OFS International, LLC (“OFS”), whose facilities are also located in

Houston. Id. at ¶ 18. The remaining devices for Texas distribution are assembled at Nine’s

facilities in Corpus Christi, which is also within SDTX. Id. BreakThru™ devices for other

markets are assembled at Nine facilities in Marietta, Ohio and Red Deer, Alberta. Id. at ¶ 19.

Nine’s sales manager for the BreakThru™ Device in Texas is based in Houston. Id. at ¶ 16. The

vast majority of non-cumulative and discoverable information is accessible from the corporate

office in Houston. Id. at ¶ 10.

       While Nine has three offices in WDTX, only the office in Midland provides any services

related to the accused BreakThru™ Device. Id. at ¶ 11-13. However, only a few employees at the

Midland facility work with the BreakThru™ Device, and none are senior employees with any

specialized knowledge. Id. at ¶ 13. In fact, the majority of employees working at the Midland

facilities are responsible for field operations related to Nine’s wireline and cementing business

units, which are not at issue here. Id. Moreover, there is no substantial evidence in Midland that

is not equally available in Nine’s Houston headquarters. Id. at ¶ 10-14. Indeed, nearly half of all

Nine’s customers that use the BreakThru™ Device are based in Houston. Id. at ¶ 20.

       Plaintiff NCS is also headquartered in Houston, with a primary place of business less than

25 miles from the federal courthouse in Houston. Complaint, Dkt. 2; Ex. C; See Ex. B. Relevant

non-party witnesses are also located in Houston, including employees of OFS International, LLC,

as well as the sole inventor of U.S. Patent No. 10,465,445 (the “Asserted Patent”) who resides in




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the United States. See Ex. A at ¶ 18; Ex. D.1 For the convenience of the Court, Nine has provided

a map of relevant locations as Exhibit B. In compliance with Local Rule CV-7(i), counsel for Nine

and NCS conferred on this motion on July 13, 2020, but could not agree to Nine’s requested

transfer.

III.    ARGUMENT

        This dispute among Houstonians would be substantially more convenient to try in Houston.

“[T]he convenience of parties and witnesses” and “the interest of justice” would be best served by

litigating this dispute at the Bob Casey United States Courthouse in Houston. See 28 U.S.C. §

1404(a). Indeed, Section 1404(a) empowers courts to “prevent plaintiffs from abusing their

privilege [under the relevant venue statute] by subjecting defendants to venues that are

inconvenient . . . .” In re Volkswagen of Am., Inc., 545 F.3d 304, 313 (5th Cir. 2008) (“Volkswagen

II”). The moving party carries the burden of showing transfer is appropriate. Id. at 314. Transfers

for convenience are intended to prevent exactly the waste of time, energy, and money that would

occur by trying a case in a forum distant from co-located litigants. See Van Dusen v. Barrack, 376

U.S. 612, 616 (1964).

        “The preliminary question under § 1404(a) is whether a civil action ‘might have been

brought’ in the destination venue.” Volkswagen II, 545 F.3d at 312. If this requirement is met,

“[t]he determination of ‘convenience’ turns on a number of public and private interest factors,

none of which can be said to be of dispositive weight.” Action Indus., Inc. v. U.S. Fid & Guar.


1
  NCS has also filed four other cases in this district asserting the same patent: NCS v. TCO AS (the
“TCO Case”), No. 6:20-cv-00622-ADA; NCS v. Allamon Tool Co. Inc., No. 6:20-cv-00699-ADA
(the “Allamon Case”); NCS v. Packers Plus Energy Services (the “Packers Plus Case”) No. 6:20-
cv-00700-ADA, NCS v. Permian Petrolink, LLC (the “Petrolink Case”), No. 6:20-cv-00701-ADA
(all W.D.Tex.) (collectively, the “NCS Cases”). No responsive filings have been made. All U.S.
parties to the NCS Cases are headquartered within 40 miles of the Houston courthouse, except
Permian Petrolink, LLC. See Ex. B.

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Co., 358 F.3d 337, 340 (5th Cir. 2004). The eight factors in the Fifth Circuit (the Volkswagen

factors) include four private factors: (1) the relative ease of access to sources of proof; (2) the

availability of compulsory process to secure the attendance of witnesses; (3) the cost of attendance

for willing witnesses; and (4) all other practical problems that make trial of a case easy, expeditious

and inexpensive. Volkswagen II, 545 F.3d at 315. The Fifth Circuit also looks to four public

factors, which include (5) the administrative difficulties flowing from court congestion; (6) the

local interest in having localized interests decided at home; (7) the familiarity of the forum with

the law that will govern the case; and (8) the avoidance of unnecessary problems of conflict of

laws of the application of foreign law. Id.

       “A plaintiff’s choice of venue is not an independent factor in the venue transfer analysis,

and courts must not give inordinate weight to a plaintiff’s choice of venue.” VLSI Tech. LLC v.

Intel Corp., No. 6:19-CV-000254-ADA, 2019 WL 4254065, at *12 (W.D. Tex. Aug. 6, 2019)

(Albright, J.) (citing Volkswagen II, 545 F.3d at 314 n.10, 315). Ultimately, where an action could

have been brought in the transferee venue and the transferee venue is “clearly more convenient,”

a motion to transfer should be granted. DataScape, Ltd. v. Dell Techs., Inc., No. 6:19-cv-00129-

ADA, 2019 WL 4254069, at *2 (W.D. Tex. June 7, 2019) (Albright, J.). Where, as here, the

litigants are located near each other, yet remote from the forum, this court has not hesitated to

transfer the case to a more convenient, and logical, venue. See Moskowitz Family LLC v. Globus

Medical, Inc., No. 6:19-cv-00672-ADA, slip op. at 13 (W.D. Tex. Jul. 2, 2020) (Albright, J.);

DynaEnergetics Europe GMBH v. Hunting Titan, Inc., 6:20-CV-00069-ADA, 2020 WL 3259807,

at *10 (W.D. Tex. June 16, 2020) (Albright, J.).




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       Here, all of the Volkswagen factors weigh in favor of transfer or are neutral. Not one

weighs in favor of keeping this case in Waco. It is therefore clear that this case between

Houstonians should be transferred to the Houston Division of SDTX.

       A.      NCS Could Have Brought This Action In SDTX.

       As a preliminary matter, this case could have been brought in the Houston Division of

SDTX. Volkswagen II, 545 F.3d at 315 (quoting 28 U.S.C. § 1404(a)). Nine has a regular and

established place of business (its corporate headquarters), and the acts that NCS has accused of

infringement (making, using, and selling the BreakThru™ Device) have occurred at Nine’s

corporate headquarters in Houston. See Ex. A, at ¶¶ 7, 20. Accordingly, this action could have

been brought in SDTX. See 28 U.S.C. § 1400(b).

       B.      The Vast Majority of Evidence is Available in Houston, Weighing In Favor
               of Transfer.

       Because nearly all evidence is accessible from Houston, factor 1 strongly weighs in favor

of transfer. Under this factor, the court looks to where evidence and documents are stored.

Volkswagen II, 545 F.3d at 316. Even in the digital age, the location of documentary evidence is

relevant. Moskowitz, slip op. at 4 (citing Volkswagen II, 545 F.3d at 316). Given that the vast

majority of relevant evidence is available in Houston, this factor heavily favors transfer.

       Nine, as the accused infringer, likely possesses the bulk of relevant documents for this case.

See, e.g., In re Genentech, Inc., 566 F.3d 1338, 1345 (Fed. Cir. 2009). Those documents reside or

are accessible from Nine’s headquarters in Houston, which lies less than five miles from the federal

courthouse in Houston. Ex. A, at ¶ 10; Ex. B. In contrast, Nine’s headquarters is more than 160

miles from Waco. Ex. B. To the extent that relevant documents also exist in NCS’s control, Nine

expects that those documents also reside in NCS’s Houston headquarters, within 25 miles of the

Houston courthouse, but more than 140 miles from Waco. Id.


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       Further, the mere presence of Nine’s field offices in WDTX should not overcome the

overwhelming convenience of transferring this case to the parties’ home town. Indeed, the Nine

facilities in Monahans and Pleasanton do not provide any services related to the BreakThru™

Device. Ex. A, at ¶ 12. Although the Midland office does facilitate sales and support of the

BreakThru™ Device, Nine does not expect that any substantial amount of non-duplicative and

non-cumulative discoverable information will be located there. Ex. A, at ¶ 14. Further, any

evidence in Midland should not affect the convenience analysis, as the distance from the Midland

office to the Waco courthouse is over 250 miles. See Ex. B.

       C.      Non-Party Witnesses Are Within the Absolute Subpoena Power of the
               Houston Division of SDTX, Weighing In Favor of Transfer.

       Of the currently identified potential non-party witnesses, all are solely within the absolute

subpoena power of the Houston Division of SDTX, and therefore factor 2 weighs in favor of

transfer. “Transfer is favored when a transferee district has absolute subpoena power over a greater

number of non-party witnesses.” Adaptix, Inc. v. HTC Corp., 937 F. Supp. 2d 867, 874 (E.D. Tex.

2013) (emphasis added). The Fifth Circuit has held that a court does not enjoy absolute subpoena

power unless it possesses subpoena power for both depositions and trial. Volkswagen II, 545 F.3d

at 316. This power only exists over individuals who reside, are employed, or regularly transact

business in person within 100 miles of the court. Fed. R. Civ. P. 45(c)(1)(A).

       Here, there are two potential non-party witnesses. First, the sole inventor of the asserted

patent residing in the United States is Travis Harris. See Ex. D. Mr. Harris resides in Houston,

but is not an employee of NCS. Id. Given his residence, he is not subject to the absolute subpoena

power of WDTX. See Ex. B. He is, however, subject to the absolute subpoena power of the

Houston division of SDTX.




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       Second, to the extent NCS seeks information about the manufacture of the BreakThru™

Device, that information could be sought through non-party OFS International, LLC (“OFS”),

whose primary facility is located northeast of Houston, about sixteen miles from the federal

courthouse. See Ex. B. Employees of OFS are also subject to the absolute subpoena power of the

Houston Division of SDTX, but not to WDTX. See Id.

       D.      The Convenience of the Witnesses Strongly Weighs in Favor of Transfer.

       The third and “single most important factor” is the convenience of witnesses.

DynaEnergetics, 2020 WL 3259807, at *7 (citing In re Genentech, 566 F.3d at 1343). The Fifth

Circuit has established a “100-mile” rule, asserting that “when the distance between an existing

venue for trial of a matter and a proposed venue under § 1404 is more than 100 miles, the factor

of inconvenience to witnesses increases in direct relationship to the additional distance to be

traveled.” Id. “The Court considers the cost of attendance for party and non-party witnesses but

gives the cost of attendance of non-party witnesses considerably more weight.” Moskowitz, slip.

op. at 6 (citing ADS Sec. L.P. v. Advanced Detection Sec. Servs., Inc., No. A-09-CA-773-LY, 2010

WL 1170976, at *4 (W.D. Tex. Mar. 23, 2010) (Andrew, J.)).

       Both NCS and Nine are headquartered in Houston, and most of the relevant witnesses from

both parties work and reside in Houston, which lies about 160 miles from Waco. See Ex. B.

Indeed, a 100-mile radius from Waco extends only to Navasota, TX, placing the entirety of the

Houston metropolitan area beyond the 100-mile presumptive convenient distance to travel.2 Id.

Witnesses travelling internationally can take advantage of direct flights to Houston. See Ex. G.

No such direct flights exist to Waco. See Ex C; Ex. F. Further, Nine’s senior employees living


2
  All litigants in the other cases filed by NCS are likewise headquartered in the Houston area or
internationally, so the same analysis applies to them. The one exception is Permian Petrolink,
LLC, whose headquarters is located a presumptively inconvenient 290 miles from Waco.

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outside of the Houston area regularly travel to Houston on business. Ex. A, at ¶¶ 21-22.

Presumptively, the same is true for NCS.

       Non-parties Mr. Harris or corporate witnesses from OFS would also have to travel nearly

400 miles and spend over six hours roundtrip driving to Waco to attend trial. See Ex. B. This

substantial cost, time, and inconvenience to non-party witnesses is unnecessary and is remedied

by transferring the case to Houston.

       E.      The Jurors in Houston Have A Substantial Local Interest In This Case,
               Weighing In Favor of Transfer.

       The Houstonians of SDTX have a substantially greater interest in having this case tried

locally than the Wacoans of WDTX. Accordingly, factor 6 weighs heavily in favor of transfer.

This factor weighs the relative interests between the transferee and transferor forums. Datascape,

2019 WL 4254069, at *8. The Fifth Circuit has reasoned that this factor is tied to the burdens of

jury service, and that the burdens of serving on a jury “‘ought not to be imposed upon the people

of a community which has no relation to the litigation.’” In re Volkswagen AG, 371 F.3d 201, 206

(5th Cir. 2004) (quoting Gulf Oil Corp. v. Gilbert, 330 U.S. 501, 508-09 (1947)). Both WDTX

and SDTX assemble venire panels from individuals residing in the counties that compose a

division. See Final Order Re: Jurors in WDTX at 1-2 (W.D. Tex. Mar. 21, 2017) (C.J. Garcia); In

re Amended Jury Plan, Order 2013-06, at § 5 (S.D. Tex. Jul. 5, 2013). Accordingly, when

comparing venues between SDTX and WDTX, the relevant “community” under the Volkswagen

factors is the division, not the wider district as a whole. See, e.g., Mimedx Grp., Inc. v. Texas

Human Biologics, Ltd., No. 1:14-CV-464-LY, 2014 WL 12479284, at *7 (W.D. Tex. Aug. 12,

2014) (“The ultimate outcome of this suit likely affects local San Antonio interests more acutely

than local Austin interests.”).




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          Here, the Houston Division has a clear and unmistakable interest in this case: (1) both Nine

and NCS are headquartered in Houston (Ex. A, at ¶ 7; Complaint, Dkt. 2), (2) many of the alleged

infringing acts occurred in Houston, including the assembly of BreakThru™ Devices (Ex. A, at ¶¶

18, 20), (3) both Nine and NCS employ a significant number of employees in Houston (Id. at ¶ 8),

(4) one of the named inventors of the Asserted Patent lives in Houston (Ex. D), (5) employees of

non-parties OFS and 47% of Nine’s customers in Houston demonstrate that clear interest (Id. at

¶ 20).3

          In comparison, the Waco division of WDTX has no interest in this case at all. Neither Nine

nor NCS has any employees or operations there. Complaint, Dkt. 2; Ex. C. Nine maintains no

facilities in the Waco division.4 Ex. A, at ¶ 23. Indeed, the only links that this case has to the wider

WDTX are Nine’s offices in Midland, Monahans, and Pleasanton. Complaint, Dkt. 2. But the

Monahans and Pleasanton facilities do not provide any services related to the BreakThru™

Devices. Ex. A, at ¶ 12. And while the BreakThru™ Device is sold and serviced by the Midland

location, that location is over 280 miles from Waco, and is situated in the Midland division of

WDTX. Id. at ¶ 11; Ex. B. As a result, a juror from the Midland division cannot be empaneled to

hear this case.

          F.      The Remaining Factors Are Neutral.

          The remaining Volkswagen factors 4, 5, 7, and 8 are generally neutral and do not weigh in

favor of or against transfer. Factor 4 is neutral because this case remains in its early stages. There

is therefore no private efficiency advantage to be gained by trying this case in one district over

another. No scheduling order has yet been entered. Further, no responsive pleading or motion has



3
    The same analysis applies to the litigants in the NCS Cases, except Permian Petrolink, LLC.
4
    NCS has not alleged that any of the litigants in the NCS Cases operate in the Waco division.

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yet been filed in the NCS Cases, leaving no clear efficiency gains could be achieved by

consolidation.5 Therefore, transferring this case would not result in any inefficiency.

       Factor 5 weighs slightly in favor of transfer. The courts in SDTX provide a slightly faster

time to resolution, averaging 23.2 months as compared to 24.6 months in WDTX. See Ex. I.

However, court congestion is “the most speculative” factor, and where “relevant factors weigh in

favor of transfer and others are neutral, then the speed of the transferee district court should not

alone outweigh all those other factors.” In re Genentech, 566 F.3d at 1347 (applying Fifth Circuit

law). Further, while this Court has a speedy default scheduling order, the Federal Circuit has

cautioned against considering such general practices. In re Adobe, Inc., No. 2020-126, slip op. at

7-8 (Fed. Cir. Jul. 28, 2020).

       Factor 7 is also neutral because the claims in this case arise under federal patent law. Both

districts are familiar with and equally capable of applying federal patent laws to patent

infringement and invalidity claims. In re TS Tech USA Corp., 551 F.3d 1315, 1320 (Fed. Cir.

2008) (applying Fifth Circuit Law). Factor 8 is also neutral, since this case does not involve any

conflict of laws or application of foreign law.

IV.    CONCLUSION

       Weighing the factors together, private factors 1-3 and public factor 6 strongly weigh in

favor of transfer and none weigh in favor of WDTX, with the remaining factors neutral.

Accordingly, transfer to the Houston Division of SDTX would be significantly more convenient

than trying this case in Waco. For these reasons, Defendant respectfully requests that the Court

grant this motion and transfer this case to the Houston Division of the Southern District of Texas.


5
 The only defendant in the NCS cases with a principal place of business in WDTX is Petrolink,
LLC, whose headquarters is located nearly 290 miles from Waco. Accordingly, it is likely that
many, if not all, of the defendants will respond with motions to dismiss or transfer.

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 Dated: July 31, 2020                               Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I hereby certify that on the 31st day of July, 2020, a true and correct copy of the foregoing

document was served on all counsel of record via the Court’s CM/ECF system per Local Rule CV-

5(b)(1).

                                             /s/ Hilary L. Preston
                                             Hilary L. Preston




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